                  Case 2:22-mj-30476-DUTY ECF No. 1, PageID.1
                                               AUSA:            Filed 10/29/22 Telephone:
                                                       Saima Mohsin              Page 1 (313)
                                                                                          of 8 226-9100
AO 91 (Rev. 11/11) Criminal Complaint             Agent:                 Erika Fabbro                 Telephone: (313) 965-2323

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Eastern District of Michigan

United States of America
   v.
TIMOTHY ALLEN TEAGAN                                                                       Case: 2:22−mj−30476
                                                                           Case No.        Assigned To : Unassigned
                                                                                           Filed: 10/29/2022
                                                                                           SEALED MATTER (LH)




                                                   CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

          On or about the date(s) of       July 17, 2022 and October 27, 2022     in the county of               Wayne      in the
        Eastern          District of       Michigan        , the defendant(s) violated:
                   Code Section                                            Offense Description
18 U.S.C. § 922(g)(3)                                  Drug User in Possession of Firearms and Ammunition

18 U.S.C. § 922(a)(6)                                  False Statement in Connection with Acquisition of a Firearm.




          This criminal complaint is based on these facts:


                                                  See attached affidavit




✔ Continued on the attached sheet.

                                                                                          Complainant’s signature

                                                                     Special Agent Erika Fabbro, FBI
                                                                                           Printed name and title
Sworn to before me and signed in my presence
and/or by reliable electronic means.


Date:   October 29, 2022                                                                     Judge’s signature

City and state: Detroit, Michigan                                    Honorable Anthony Patti, U.S. Magistrate Judge
                                                                                           Printed name and title

                                                                                                                     Save   Print
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                                   AFFIDAVIT
       I, Erika Fabbro, being first duly sworn, hereby depose and state as follows:
1.     I am a Special Agent assigned to the Federal Bureau of Investigation, Detroit
       Field Office on the Joint Terrorism Task Force as part of a Counter
       Terrorism (CT) Squad. I am responsible for investigating Domestic
       Terrorism cases (including Racially Motivated Violent Extremism, Anti-
       Government Extremism, Anarchist Extremism, and Militia Extremism), as
       well as CT Threat Assessments and Threat to Life matters. As part of my
       duties, I have investigated federal criminal violations involving firearms,
       bomb threats, and threats of violence. As a special agent, I am authorized by
       law or by a Government agency to engage in or supervise the prevention,
       detention, investigation, or prosecution of a violation of Federal criminal
       laws.

2.     On October 25, 2022, the Plymouth Police Department (PPD) advised me
       that Timothy Allen Teagan had been arrested by PPD for domestic violence
       at XXXX Cherry Street, Plymouth, Michigan (the Cherry Street residence).
       When officers arrived at the residence, they observed Timothy Teagan’s
       father, Johnathan Teagan, covered in blood. He had been bitten on the
       forehead and repeatedly punched. After interviewing witnesses at the scene,
       PPD officers arrested Timothy Teagan for domestic violence.

3.     I am aware that Johnathan Teagan is a convicted felon, and that his son
       Christopher Teagan also resides at the Cherry Street residence.

4.     Johnathan Teagan advised me that he is the owner of the Cherry Street
       residence and that Timothy Teagan had been living in the house, but more
       recently has been staying at a hotel. Johnathan Teagan advised me that
       Timothy Teagan stores some of his possessions at the Cherry Street
       residence.

5.     On October 29, 2022, Johnathan Teagan further advised that, although he
       had moved out to live in hotel rooms, Timothy Teagan spent a lot of time at
       the Cherry Street residence.
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6.      I am aware that on July 17, 2022, Timothy Teagan signed an ATF Form
        4473 for the purchase of a Glock 34, 9 mm handgun. When signing the
        form, he certified that the information provided was accurate under penalty
        of prosecution. On the form, Timothy Teagan denied being a drug user,
        answering “no” to question 21.E on the form, which states: “Are you an
        unlawful user of or addicted to, marijuana or any depressant, stimulant,
        narcotic drug, or any other controlled substance? Warning: The use or
        possession of marijuana remains unlawful under Federal law regardless of
        whether it has been legalized or decriminalized for medicinal or
        recreational purposes in the state where you reside.”

7.      Timothy Teagan purchased a Glock 34, 9 mm pistol, serial number HWF867
        on July 20, 2022.

8.      On October 25, 2022, Christopher Teagan told PPD officers that there were
        at least three guns located within the Cherry Street residence.

9.      Johnathan Teagan advised that the firearms were stored within a locked safe,
        and that he does not have access to the firearms because the keys to the safe
        are maintained by his two sons. Johnathan Teagan further advised that in the
        past, he has asked Timothy Teagan to remove the firearms from the
        premises, but Timothy Teagan refused to do so.

10.     On October 27, 2022, I participated in the execution of a federal search
        warrant for the Cherry Street residence. Most of the items seized were found
        within a room Johnathan Teagan identified as containing Timothy Teagan’s
        possessions. Agents seized an AR-15 rifle (a Diamondback Arms, Inc. DB-
        15 .556 caliber semi-automatic rifle) from the bed, dozens of rounds of both
        rifle and 9 mm ammunition, multiple AR and 9mm magazines, an ACOG
        rifle sight and rifle stock fore-grip, multiple containers of what appears to be
        marijuana, a large bong, dozens of smaller bongs, and other drug
        paraphernalia, and a grinder frequently used to grind whole leaf marijuana.



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11.     Agents observed among Timothy Teagan’s possessions a plate carrier vest,
        Level IV body armor, Boogaloo movement flags and patches, and gas
        masks.

12.     Timothy Teagan’s Glock 34, 9 mm handgun was also seized from
        Christopher Teagan’s vehicle after Christopher Teagan consented to the
        search of his vehicle.

13.     I am also advised by Interstate Nexus ATF Special Agent Michael Jacobs
        that the Diamondback Arms, Inc. DB-15 .556 caliber semi-automatic rifle
        and the Glock 34, 9 mm pistol, were manufactured outside the state of
        Michigan, and thus traveled in interstate or foreign commerce.

14.     On October 27, 2022, Christopher Teagan advised me that on October 26,
        2022, after Timothy Teagan had been released from custody (on bond for the


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        domestic violence arrest), Christopher Teagan brought his brother clothing
        and “a ton of weed.”

15.     On October 27, 2022, Timothy Teagan advised FBI agents that he is a
        marijuana user, that he has been trying to cut back, and that his brother
        Christopher Teagan brough marijuana to him the day prior, but he had not
        used it yet.

16.     Timothy Teagan has been arrested several times but has no criminal
        convictions. He has a history of assault and domestic violence, particularly
        against his father and brother; including while Timothy Teagan was a
        juvenile.

17.     His first reported arrest was for assault and domestic violence in 2014, when
        he was a juvenile.

18.     Timothy Teagan was arrested by PPD on April 16, 2017, for possession of
        marijuana following a traffic stop. The arrest was prosecuted in the 35th
        District Court of Michigan, and it appears the case may have been
        dismissed.

19.     Timothy Teagan was arrested by the PPD for assault with a dangerous
        weapon (felonious assault) and domestic violence on June 30, 2017. During
        the assault, Timothy Teagan bit and broke the skin of his father’s arm and
        held a sword to his throat threatening him. Timothy Teagan also physically
        assaulted his brother, chased him with a sword, shot at him with an airsoft
        gun, and repeatedly stabbed holes in the refrigerator with the sword. He
        pleaded guilty, but all charges were later dismissed as part of a deferred
        disposition.

20.     On March 12, 2022, police were dispatched to the home of Timothy
        Teagan’s friends, who alleged that following a political argument, Timothy
        Teagan punched his friend in the head three times with a closed fist and
        kicked his friend’s wife in the face. Timothy Teagan also threatened to shoot
        up their house with his AR-15 if they called the police. Attempts to locate

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        Timothy Teagan were unsuccessful, and the complainants refused to press
        charges so no charges were brought and Timothy Teagan was not arrested.

21.     I am aware that Timothy Teagan self-identifies as a member and supporter
        of the Boogaloo movement. I believe that possession of firearms is
        consistent with the ideology espoused by members of this movement. I am
        aware that Boogaloo ideology is an anti-government or anti-authority
        concept advocating the violent overthrow of government.

22.     On April 4, 2021, Timothy Teagan admitted in a video recording at a
        Boogaloo-led protest to being a user of marijuana, which would make him
        prohibited from possessing a firearm or ammunition under federal law. This
        video was publicly available on the News2Share (www.news2share.com)
        website, showcasing the Boogaloo members protesting outside the Ann
        Arbor Justice Center in Ann Arbor, Michigan. Timothy Teagan is pictured
        holding an AR-15 style rifle, with a partially clear sided magazine inserted
        into the rifle, allowing the viewer to see ammunition present in the
        magazine. While holding the loaded firearm, Timothy Teagan made the
        following declaration admitting his use of “weed”: “I love this city. I smoke
        plenty of weed in this city, believe me. Been to hash bashes before.”




23.     I believe that Timothy Teagan has been a user of marijuana for many years.
        According to his brother, Christopher Teagan, Timothy Teagan has been


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        smoking “pot” since he was seven years old. Christopher Teagan later
        advised that Timothy Teagan smokes marijuana 4 to 5 time per day.

24.     Johnathan Teagan advised me that Timothy Teagan can’t handle his liquor,
        but that marijuana doesn’t seem to affect him. Johnathan stated that he was
        unable to tell when Timothy Teagan was high, because he is always high.

25.     I also believe Timothy Teagan was a regular user of marijuana from April
        2021 through October 27, 2022, including on July 17, 2022, when he
        submitted the ATF Form 4473 for the purchase of a firearm and certified
        that he was not a controlled substances user or addict. The basis of this belief
        includes the following:

26.     I am aware that Timothy Teagan was arrested for possession of marijuana in
        April 2017, and that in April 2021, Timothy Teagan openly discussed his
        current and former marijuana use when he stated that he smoked “plenty of
        weed” in Ann Arbor and acknowledged he had previously been to “hash
        bashes”. I am aware that on October 26, 2022, after Timothy Teagan had
        been released from custody, Christopher Teagan brought his brother “a ton
        of weed.” And on October 27, 2022, (the day the AR-15 and Glock
        handguns were seized by FBI), Timothy Teagan admitted that he is a
        marijuana user, that he’s been trying to cut back, and that his brother brought
        him marijuana the day prior (but he had not used it yet).

27.     In addition, on October 27, 2022, FBI agents seized multiple packages
        containing what appears to be marijuana, a large bong, and dozens of
        smaller bongs, and drug paraphernalia from the room Timothy Teagan used
        to store his possessions in his father’s home.

                                   CONCLUSION

28.     Based on the foregoing, I believe that there is probable cause to believe that
        Timothy Teagan violated the federal firearms statute 18 U.S.C. § 922(g)(3),
        which makes it a crime for a drug user or addict to possess firearms or
        ammunition. ATF Regulation Title 27, Code of the Federal Regulations

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        (CFR), Section 478.11 specifically defines the terms, “unlawful user of” or
        “addicted to any controlled substance” as “A person who has lost the power
        of self-control with reference to the use of a controlled substance; and any
        person who is a current user of a controlled substance in a manner other than
        prescribed by a licensed physician.”

29.     Finally, I submit there is probable cause to believe that Timothy Teagan
        violated 18 USC § 922(a)(6), False Statement in Connection with
        Acquisition of a Firearm by making a false written statement on a
        Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and
        Explosives Form 4473, Firearms Transaction Record stating that he was not
        a user of, or addicted to any controlled substances, when in fact as the
        defendant then knew, he was a user and/or addict of a controlled substance.




                                                     _
                                                     _____________________
                                                     Erika Fabbro, Special Agent
                                                     Federal Bureau of Investigation
Sworn to before me and signed in my
presence and/or by reliable electronic means.


___________________________________
HONORABLE ANTHONY P. PATTI
UNITED STATES MAGISTRATE JUDGE

Date: October 29, 2022




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